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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH CAROLINA
                                     FLORENCE DIVISION

BRUCE LEE HUDSON, #299312,           )                  Civil Action No. 4:19-cv-1499-SAL-TER
a/k/a Bruce Lee Hudson, #101021,     )
a/k/a Bruce L. Hudson,               )
                                     )
                      Plaintiff,     )
                                     )
                   -vs-              )
                                     )                  CONFIDENTIALITY ORDER
                                     )
RICHLAND HOSPITAL, BAPTIST           )
HOSPITAL, POLLY SMITH, Baptist       )
Hospital Employee, TRISTAN NEVILLIE, )
Baptist Hospital Employee, BECKY     )
BOUDE, Richland Hospital Employee,   )
JENNIFER LATHAM, Richland Hospital )
Employee, JAMES MOORE, Richland      )
Hospital Employee, JOEY SMITH,       )
Richland Hospital Employee, LATISHA  )
PITTS, CPD Police Officer, MALIK     )
HOCKETT, SCDC Officer, OFFICER       )
SHAW, Richland County Probation,     )
                                     )
                      Defendant.     )
___________________________________ )

        Whereas, Defendants have requested that the court enter a confidentiality order and Plaintiff

has not objected; and whereas the court has determined that the terms set forth herein are appropriate

to protect the respective interests of the parties. the public, and the court; accordingly, it is this 16th

day of September, 2020, ORDERED:

        1.      Scope. All documents produced in the course of discovery, all responses to discovery

requests and all deposition testimony and deposition exhibits and any other materials which may be

subject to discovery (hereinafter collectively “documents”) shall be subject to this Order concerning

confidential information as set forth below.

        2.      Form and Timing of Designation. Confidential documents shall be so designated

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by placing or affixing the word “CONFIDENTIAL” on the document in a manner which will not

interfere with the legibility of the document and which will permit complete removal of the

Confidential designation. Documents shall be designated CONFIDENTIAL prior to, or

contemporaneously with, the production or disclosure of the documents. Inadvertent or unintentional

production of documents without prior designation as confidential shall not be deemed a waiver, in

whole or in part, of the right to designate documents as confidential as otherwise allowed by this

Order.

         3.      Documents Which May be Designated Confidential. Any party may designate

documents as confidential but only after review of the documents by an attorney1 who has, in good

faith, determined that the documents contain information protected from disclosure by statute,

sensitive personal information, trade secrets, or confidential research, development, or commercial

information. The certification shall be made concurrently with the disclosure of the documents,

using the form attached hereto at Attachment A which shall be executed subject to the standards of

Rule 11 of the Federal Rules of Civil Procedure. Information or documents which are available in

the public sector may not be designated as confidential.

         4.      Depositions. Portions of depositions shall be deemed confidential only if designated

as such when the deposition is taken or within seven business days after receipt of the transcript.

Such designation shall be specific as to the portions to be protected.

         5.      Protection of Confidential Material.

         a.      General Protections. Documents designated CONFIDENTIAL under this Order



         1
           The attorney who reviews the documents and certifies them to be CONFIDENTIAL must be
admitted to the Bar of at least one state but need not be admitted to practice in the District of South Carolina
and need not apply for pro hac vice admission. By signing the certification, counsel submits to the
jurisdiction of this court in regard to the certification.

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        shall not be used or disclosed by the parties or counsel for the parties or any other persons

        identified below (¶ 6.b.) for any purposes whatsoever other than preparing for and conducting

        the litigation in which the documents were disclosed (including any appeal of that litigation).

        The parties shall not disclose documents designated as confidential to putative class members

        not named as plaintiffs in putative class litigation unless and until one or more classes have

        been certified.

        b.      Limited Third Party Disclosures. The parties and counsel for the parties shall not

        disclose or permit the disclosure of any documents designated CONFIDENTIAL under the

        terms of this Order to any other person or entity except as set forth in subparagraphs (1)-(5)

        below, and then only after the person to whom disclosure is to be made has executed an

        acknowledgment (in the form set forth at Attachment B hereto), that he or she has read and

        understands the terms of this Order and is bound by it. Subject to these requirements, the

        following categories of persons may be allowed to review documents which have been

        designated CONFIDENTIAL pursuant to this Order:

                (1)       counsel and employees of counsel for the parties who have responsibility for

                the preparation and trial of the lawsuit;

                (2)       parties and employees of a party to this Order but only to the extent counsel

                shall certify that the specifically named individual party or employee’s assistance is

                necessary to the conduct of the litigation in which the information is disclosed2;

                (3)       court reporters engaged for depositions and those persons, if any, specifically



        2
          At or prior to the time such party or employee completes his or her acknowledgment of review of
this Order and agreement to be bound by it (Attachment B hereto), counsel shall complete a certification in
the form shown at Attachment C hereto. Counsel shall retain the certification together with the form signed
by the party or employee.

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               engaged for the limited purpose of making photocopies of documents;

               (4)     consultants, investigators, or experts (hereinafter referred to collectively as

               “experts”) employed by the parties or counsel for the parties to assist in the

               preparation and trial of the lawsuit; and

               (5)     other persons only upon consent of the producing party or upon order of the

               court and on such conditions as are agreed to or ordered.

       c.      Control of Documents. Counsel for Defendants and Plaintiff shall take reasonable

       efforts to prevent unauthorized disclosure of documents designated as Confidential pursuant

       to the terms of this order. Counsel and Plaintiff shall maintain a record of those persons,

       including employees of counsel, who have reviewed or been given access to the documents

       along with the originals of the forms signed by those persons acknowledging their

       obligations under this Order.

       d.      Copies. All copies, duplicates, extracts, summaries or descriptions (hereinafter

       referred to collectively as “copies”), of documents designated as Confidential under this

       Order or any portion of such a document, shall be immediately affixed with the designation

       “CONFIDENTIAL” if the word does not already appear on the copy. All such copies shall

       be afforded the full protection of this Order.

       6.      Filing of Confidential Materials. In the event a party seeks to file any material that

is subject to protection under this Order with the court, that party shall take appropriate action to

insure that the documents receive proper protection from public disclosure including: (1) filing a

redacted document with the consent of the party who designated the document as confidential; (2)

where appropriate (e.g. in relation to discovery and evidentiary motions), submitting the documents

solely for in camera review; or (3) where the preceding measures are not adequate, seeking


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permission to file the document under seal pursuant to the procedural steps set forth in Local Civil

Rule 5.03, DSC, or such other rule or procedure as may apply in the relevant jurisdiction. Absent

extraordinary circumstances making prior consultation impractical or inappropriate, the party seeking

to submit the document to the court shall first consult with counsel for the party who designated the

document as confidential to determine if some measure less restrictive than filing the document

under seal may serve to provide adequate protection. This duty exists irrespective of the duty to

consult on the underlying motion. Nothing in this Order shall be construed as a prior directive to the

Clerk of Court to allow any document be filed under seal. The parties understand that documents

may be filed under seal only with the permission of the court after proper motion pursuant to Local

Civil Rule 5.03.

       7.      Greater Protection of Specific Documents. No party may withhold information

from discovery on the ground that it requires protection greater than that afforded by this Order

unless the party moves for an Order providing such special protection.

       8.      Challenges to Designation as Confidential. Any CONFIDENTIAL designation is

subject to challenge. The following procedures shall apply to any such challenge.

       a.      The burden of proving the necessity of a Confidential designation remains with the

       party asserting confidentiality.

       b.      A party who contends that documents designated CONFIDENTIAL are not entitled

       to confidential treatment shall give written notice to the party who affixed the designation

       of the specific basis for the challenge. The party who so designated the documents shall have

       fifteen (15) days from service of the written notice to determine if the dispute can be resolved

       without judicial intervention and, if not, to move for an Order confirming the Confidential

       designation.


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     c.      Notwithstanding any challenge to the designation of documents as confidential, all

     material previously designated CONFIDENTIAL shall continue to be treated as subject to

     the full protections of this Order until one of the following occurs:

             (1)     the party who claims that the documents are confidential withdraws such

             designation in writing;

             (2)     the party who claims that the documents are confidential fails to move timely

             for an Order designating the documents as confidential as set forth in paragraph 9.b.

             above; or

             (3)     the court rules that the documents should no longer be designated as

             confidential information.

     d.      Challenges to the confidentiality of documents may be made at any time and are not

     waived by the failure to raise the challenge at the time of initial disclosure or designation.

     9.      Treatment on Conclusion of Litigation.

     a.      Order Remains in Effect. All provisions of this Order restricting the use of

     documents designated CONFIDENTIAL shall continue to be binding after the conclusion

     of the litigation unless otherwise agreed or ordered.

     b.      Return of CONFIDENTIAL Documents. Within thirty (30) days after the

     conclusion of the litigation, including conclusion of any appeal, all documents treated as

     confidential under this Order, including copies as defined above (¶6.d.) shall be returned to

     the producing party unless: (1) the document has been entered as evidence or filed (unless

     introduced or filed under seal); (2) the parties stipulate to destruction in lieu of return; or (3)

     as to documents containing the notations, summations, or other mental impressions of the

     receiving party, that party elects destruction. Notwithstanding the above requirements to


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        return or destroy documents, counsel may retain attorney work product including an index

        which refers or relates to information designated CONFIDENTIAL so long as that work

        product does not duplicate verbatim substantial portions of the text of confidential

        documents. This work product continues to be Confidential under the terms of this Order.

        An attorney may use his or her work product in a subsequent litigation provided that its use

        does not disclose the confidential documents.

        10.    Order Subject to Modification. This Order shall be subject to modification on

motion of any party or any other person who may show an adequate interest in the matter to

intervene for purposes of addressing the scope and terms of this Order. The Order shall not,

however, be modified until the parties shall have been given notice and an opportunity to be heard

on the proposed modification.

        11.    No Judicial Determination. This Order is entered based on the representations and

agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall be

construed or presented as a judicial determination that any specific document or item of information

designated as CONFIDENTIAL by counsel is subject to protection under Rule 26(c) of the Federal

Rules of Civil Procedure or otherwise until such time as a document-specific ruling shall have been

made.

        12.    Persons Bound. This Order shall take effect when entered and shall be binding upon

Plaintiff, all counsel in this action and their respective law firms and clients.

        IT IS SO ORDERED.

                                               s/Thomas E. Rogers, III
                                               United States Magistrate Judge

September 16, 2020
Florence, South Carolina


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                                ATTACHMENT A
                   CERTIFICATION BY COUNSEL OF DESIGNATION
                       OF INFORMATION AS CONFIDENTIAL

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                             [DIVISION [all caps]] DIVISION

[Plaintiff]                              )       Civil Action No. [Case Number]
                                         )
                      Plaintiff,         )       Certification by Counsel of Designation
vs.                                      )       of Information as Confidential
[Defendant]                              )
                                         )
                      Defendant          )
                                         )
                                         )

        Documents produced herewith [whose bates numbers are listed below (or) which are
listed on the attached index] have been marked as CONFIDENTIAL subject to the Confidentiality
Order entered in this action which Order is dated [confidentiality order date].

       By signing below, I am certifying that I have personally reviewed the marked documents and
believe, based on that review, that they are properly subject to protection under the terms of
Paragraph 3 of the Confidentiality Order.

        Check and complete one of the two options below.

              I am a member of the Bar of the United States District Court for the District of South
               Carolina. My District Court Bar number is [District Court Bar #].

              I am not a member of the Bar of the United States District Court for the District of
               South Carolina but am admitted to the bar of one or more states. The state in which
               I conduct the majority of my practice is [state in which I practice most] where my Bar
               number is [that state's Bar #]. I understand that by completing this certification I am
               submitting to the jurisdiction of the United States District Court for the District of
               South Carolina as to any matter relating to this certification.

Date: [date attachment A signed]                             [Signature of Counsel [s/name]]
                                                             Signature of Counsel

                                                             [Printed Name of Counsel [A]]
                                                             Printed Name of Counsel




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                                        ATTACHMENT B

                       ACKNOWLEDGMENT OF UNDERSTANDING
                                    AND
                            AGREEMENT TO BE BOUND

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                              [DIVISION [all caps]] DIVISION



[Plaintiff]                                  )   Civil Action No. [Case Number]
                                             )
                       Plaintiff,            )
vs.                                          )   Acknowledgment of Understanding
[Defendant]                                  )               and
                                             )       Agreement to be Bound
                       Defendant             )
                                             )
                                             )


      The undersigned hereby acknowledges that he or she has read the Confidentiality Order dated
[confidentiality order date], in the above captioned action, understands the terms thereof, and agrees
to be bound by such terms. The undersigned submits to the jurisdiction of the United States District
Court for the District of South Carolina in matters relating to the Confidentiality Order and
understands that the terms of said Order obligate him/her to use discovery materials designated
CONFIDENTIAL solely for the purposes of the above-captioned action, and not to disclose any such
confidential information to any other person, firm or concern.

         The undersigned acknowledges that violation of the Stipulated Confidentiality Order may
result in penalties for contempt of court.

        Name:          [undersigned name [att B]]
        Job Title:     [Job Title [att B]]
        Employer:      [Employer [att B]]
        Business Address:      [Business Address [att B]]


Date: [date attachment B signed]                              [Signature [attachment B]]
                                                              Signature




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                                       ATTACHMENT C

                        CERTIFICATION OF COUNSEL OF NEED
                        FOR ASSISTANCE OF PARTY/EMPLOYEE

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                              [DIVISION [all caps]] DIVISION



[Plaintiff]                   )               Civil Action No. [Case Number]
                              )
                  Plaintiff,  )                     Certification of Counsel
vs.                           )               of Need for Assistance of Party/Employee
[Defendant]                   )
                              )
                  Defendant   )
                              )
______________________________)

       Pursuant to the Confidentiality Order entered in this action, most particularly the
provisions of Paragraph 6.b.2., I certify that the assistance of [name of assistant [att C]] is
reasonably necessary to the conduct of this litigation and that this assistance requires the
disclosure to this individual of information which has been designated as CONFIDENTIAL.

        I have explained the terms of the Confidentiality Order to the individual named above and
will obtain his or her signature on an “Acknowledgment of Understanding and Agreement to be
Bound” prior to releasing any confidential documents to the named individual and I will release
only such confidential documents as are reasonably necessary to the conduct of the litigation.

        The individual named above is:

              A named party;

              An employee of named party [employee of named party]. This employee’s job
               title is [employee's job title] and work address is [employee's work address].


Date: [date attachment C signed]                            [Signature [attachment C]]
                                                            Signature




                                                10
